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5                                   UNITED STATES DISTRICT COURT
6                                NORTHERN DISTRICT OF CALIFORNIA
7
8    UNITED STATES OF AMERICA,                              No. CR-13-0753 EMC
9                   Plaintiff,
                                                            ORDER DENYING PLAINTIFF’S
10          v.                                              MOTION TO QUASH
11   IVAN SPEED,                                            (Docket No. 61)
12               Defendant.
     ____________________________________/
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14          April 28, 2014, Defense counsel issued a subpoena on the California Department of Justice
15   seeking copies of the criminal history summary records of the confidential informant in this case.
16   See Docket No. 61-1. On May 9, 2014, the government moved to quash the subpoena, contending
17   that it was improperly issued and “it merely seeks informant [sic] that has already been provided to
18   the defense.” Docket No. 61.
19          The government “may have standing to move to quash a subpoena if it seeks privileged
20   material or material in which the government has a proprietary interest, or if production of the
21   subpoenaed material might unduly lengthen the trial, harass a witness, or cause too much emphasis
22   to be placed on a witness’s credibility.” United States v. Ortiz, No. C 12-00119 SI, 2013 WL
23   6842559, at 2 (N.D. Cal. Dec. 27, 2013). The government does not assert any such basis for moving
24   to quash the subpoena. Rather, it argues that the subpoena in question was “issued for an improper
25   fishing expedition and, if enforced, would undermine well-established rules and laws relating to
26   criminal discovery and disclosures.” Docket No. 61, at 2. However, this argument is insufficient to
27   confer standing. See Ortiz, 2013 WL 6942559, at 2 (“[T]he government argues that it has an interest
28   in ensuring that defendants properly comply with Federal Rule of Criminal Procedure 17(c). This is

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1    not a legitimate interest that would confer standing upon the government.”). In any event, the
2    confidential informant’s rap sheet is relevant and the subpoenaed party has not moved to quash.
3           The motion to quash is DENIED. This order disposes of Docket No. 61.
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5           IT IS SO ORDERED.
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7    Dated: May 13, 2014
8                                                         _______________________________
                                                          EDWARD M. CHEN
9                                                         United States District Judge
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